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1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                    ***
      SAN'DRANA C. WILSON,
4
                          Plaintiff,
5                                                       2:20-cv-01411-APG-VCF
      vs.                                               ORDER
6     HOME POINT FINANCIAL CORPORATION.;
      EQUIFAX INFORMATION SERVICES, LLC;
7
      EXPERIAN INFORMATION SOLUTIONS,
8
      INC.; and TRANS UNION, LLC,
                          Defendants.
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           Before the court is San’Drana C. Wilson v. Home Point Financial Corporation, et al., case number
10
     2:20-cv-01411-APG-VCF.
11
           A discovery plan and scheduling order has not been filed pursuant to LR 26-1.
12
           Accordingly,
13
           IT IS HEREBY ORDERED that the parties must a proposed discovery plan and scheduling order
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     on or before November 16, 2020.
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16
           DATED this 9th day of November, 2020.
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18                                                            CAM FERENBACH
                                                              UNITED STATES MAGISTRATE JUDGE
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